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Attorneys for Plaintiff


                       IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, SOUTHERN DIVISION


 DEAN JEFFRIES L. GOODRIDGE,                            NOTICE OF APPEARANCE OF
 Individually and as Personal Representative of                 COUNSEL
 the Estate of TAYLOR GOODRIDGE,                             (Lance L. Milne)
 Deceased,

        Plaintiff,                                      Case No. 4:22-cv-000102-DN

 v.

 DIAMOND RANCH ACADEMY, INC.; a
 corporation, JOHN DOE I

         Defendant.


       PLEASE TAKE NOTICE that Lance L. Milne of MORTENSEN & MILNE hereby

enters his appearance as counsel for Plaintiff Dean Jeffries L. Goodridge, Individually and as

Personal Representative of the Estate of Taylor Goodridge, Deceased.

       Dated this 13th day of March 2023.

                                                    MORTENSEN & MILNE


                                                    /s/ Lance L. Milne
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                                       Alan W. Mortensen
                                       Lance L. Milne
                                       Christopher J. Cheney
                                       Attorney for Plaintiff
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 13th day of March 2023, I caused to be served via Greenfiling

a true and correct copy of NOTICE OF APPEARANCE OF COUNSEL (Lance L. Milne) to the

following:

       Heidi Goebel
       Samantha E. Wilcox
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                                             /s/ Natalie Cottam
